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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

    UNITED STATES OF AMERICA,                       §
            Plaintiff,                              §
                                                    §
    v.                                              §    CIVIL NO. 1:08-CV-224
                                                    §
    1.09 ACRES OF LAND, MORE OR LESS,               §
    SITUATE IN CAMERON COUNTY,                      §
    STATE OF TEXAS, AND RAMON                       §
    CISNEROS, JR., et al.,                          §
                                                    §
               Defendants.                          §

____________________________________________________________________________

                         AGREED FINAL JUDGMENT
____________________________________________________________________________

          The Court hereby renders final judgment in this case in accordance with Federal Rule of

Civil Procedure 54.

          On May 20, 2021, Plaintiff, United States of America (“United States”) appeared before

the Court for a status Conference. Claimants Cameron County, Brownsville I.S.D., South Texas

I.S.D., Brownsville Navigation District, Cameron County Emergency Services District, Texas

Southmost College, and Brownsville Irrigation District (the “Taxing Authorities”) received notice

of the hearing on title and ownership and subsequently filed a Motion to Permit their Attorney to

be Excused from Attending the Status Conference. 1 The Court granted the Motion due to the

Taxing Authorities verified claim and no remaining unresolved issues, therefore Taxing

Authorities did not participate in the Status Conference. 2 Thomas Mark Blakemore attended the

Status Conference in represention of Defendant, Ramon Cisneros.



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              During the hearing this Court found that Ramon Cisneros and Taxing Authorities were the

only two parties in this case with an identified interest in the subject property. The Court also

found Taxing Authorities’ claim for the just compensation due to unpaid taxes and penalties, was

valid. Mr. Blakemore informed the Court that Ramon Cisneros did not contest the Taxing

Auhtorities claim and this Court held that Taxing Authorities was entitled to the full amount of the

just compensation for the subject property.

              Having considered the evidence on title and just compensation on the record, the Court

enters final judgment in this case and accordingly, the following is hereby ORDERED:

      1. Taxing Authorities is entitled to full and just compensation payable by the United States

              for the taking of Tracts RGV-FTB-1015 and RGV-FTB-1015-1 for the thirty-three

              thousand, one hundredand fifty and 00/100 dollars ($33,150.00) on deposit in the registry

              of the Court, plus any accrued interest, which sum is all inclusive and in full satisfaction

              of any claims of whatsoever nature by the named Claimants against the United States for

              the institution and prosecution of the above-captioned action.

      2. Judgment is hereby entered against the United States in the amount of thirty-three

              thousand, one hundred, fifty and 00/100 dollars ($33,150.00) plus any accrued interest for

              the taking of Tracts RGV-FTB-1015 and RGV-FTB-1015-1.

      3. On June 3, 2008, the United States deposited a check in the amount of twelve thousand six

              hundred and fifty and 00/100 dollars ($12,650.00) 3 as estimated just compensation for the

              taking of the subject property. The United States, Defendant Ramon Cisneros and Taxing

              Authorities agree that upon deposit of said amount, title to the interest and estate as more

              fully described in the Complaint and to the extent set forth in the Declaration of Taking,


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         vested in the name of the United States of America by operation of law as to Tracts RGV-

         FTB-1015 and RGV-FTB-1015-1.

    4. On September 28, 2015, the United States deposited a check in the amount of two thousand

         and 00/100 dollars ($2,000.00), as additional funds for the estimated just compensation. 4

    5. On July 24, 2018, the United States deposited eighteen thousand, five hundred and 00/100

         dollars ($18,500.00), as additional funds for the estimated just compensation. 5

    6.   The total amount in deposit in the Registry of the Court and agreed to as the settlement

         between the parties is thirty three thousand one hundred and fifty with 00/100 dollars

         ($33,150.00).

    7. On September 24, 2008, the Court found the United States to be entitled to immediate

         possession of Tracts RGV-FTB-1015 and RGV-FTB-1015-1, and ordered all persons in

         possession or control to surrender possession of same to the United States, to the extent of

         the estate being condemned 6:

            The estate taken is fee simple, subject to existing easements for public roads
         and highways, public utilities, railroads, and pipelines; and subject to all interests
         in minerals and appurtenant rights for exploration, development, production and
         removal of said minerals;

             Reserving to the owners of land described in Quit-Claim Deed recorded with
         Deed Records, Cameron County, Texas, on 4 December 1981, volume 1258, page
         260, document number 34788, reasonable access to and from the owners’ lands
         lying between the Rio Grande River and the border barrier through opening(s) or
         gate(s) in the border barrier between the westernmost mark labeled “Beginning”
         and easternmost mark labeled “Ending” depicted on the map [in Schedule E of the
         Declaration of Taking];

             Excepting and excluding all interests in water rights and water distribution and
         drainage systems, if any, provided that any surface rights arising from such water
         rights or systems are subordinated to the United States’ construction, operation, and
         maintenance of the border barrier.
4
  Doc. 83.
5
  Doc. 92.
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  Doc. 9; Schedule “E,” Docs. 1-1 at 13; 2-1 at 13.

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          To the extent that possession was not previously granted, all persons in possession or

          control of the interests taken in Tracts RGV-FTB-1015 and RGV-FTB-1015-1 are hereby

          ORDERED to surrender possession of same to the United States.

      8. Pursuant to a Stipulation filed by the United States and Taxing Authorities with the Court

          on May 17, 2021 7, the total sum of thirty-three thousand, one hundred, fifty and 00/100

          dollars ($33,150.00) plus any accrued interest, which sum is in full satisfaction of any

          claims of whatsoever nature by the named Claimants, shall be subject to all taxes, liens,

          encumbrances, and charges of whatsoever nature existing against the interests in the

          property taken in this proceeding at the time of vesting of title in the United States, and all

          such real estate taxes, liens, encumbrances, and charges of whatsoever nature shall be

          payable to the Taxing Authorities and deductible from this amount.

      9. The United States, Ramon Cisneros and Taxing Authorities stipulate that the sum ofthirty-

          one thousand two hundred twenty dollars and sixty-three cents ($31,220.63) plus any

          accrued interest, shall be paid to Defendant Antonio “Tony” Yzaguirre, Cameron County

          Tax Assessor-Collector for ad valorem taxes owed on Account Number: 77-2860-1010-

          0120-00 and 772860-1010-0130-00 for Tract RGV-FTB-1015 and RGV-FTB-1015-1

          (1.09 acres) and the whole parcel remaining in said account.

      10. The United States, Ramon Cisneros and Taxing Authorities stipulate that the sum of one

          thousand nine hundred twenty -nine dollars and thirty-three cents ($1,929.33) plus any

          accrued interest, shall be paid to Defendant Brownsville Irrigation District for ad valorem




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   taxes owed on Account 12183 and 12184 for Tract RGV-FTB-1015 and RGV-FTB-1015-

   1 (1.09 acres) and the whole parcel remaining in said account.

11. The stipulated just compensation remains on deposit in the registry of the Court. The Clerk

   of Court shall now, without further order of the Court, disburse the total sum of thirty-

   three thousand, one hundred, fifty and 00/100 dollars ($33,150.00) plus any accrued

   interest earned thereon while on deposit, payable to the order of:

       •   $31,220.63 to “ “Tony” Yzaguirre, Cameron County Tax Assessor-Collector,” for
           Account Number: 77-2860-1010-0120-00 and 772860-1010-0130-00”, with
           accrued interest from the date of deposit, for ad valorem taxes owed on the subject
           property.

        • $1,929.33 to “Brownsville Irrigation District” for Account Number 12183 and 12184
            with accrued interest from the date of deposit, dor ad valorem taxes owed on the
           subject property.
12. All parties shall be responsible for their own legal fees, costs, and expenses, including

   attorney fees, consultant fees, and any other expenses or costs.

13. Subject to the property taxes owed, which payment is being disbursed herein,, RAMON

   CISNEROS, JR is responsible for the payment of any additional taxes or assessments

   which they otherwise owe on the interest in the property taken in this proceeding on the

   date of taking, and is responsible for payment of any additional taxes or assessments which

   they otherwise owe on the remaining whole parcel.

14. Parties shall take no appeal from any rulings or judgments made by the Court in this action.

15. This final judgment is binding on the heirs, trustees, executors, administrators, devisees,

   successors, assigns, agents, and representatives of all named Claimants in this case.

16. All issues have been resolved as to Tracts RGV-FTB-1015 and RGV-FTB-1015-1

   including any delinquent taxes and charges against it. Accordingly, the claims and interests

   of named defendants remaining in this case: RAMON CISNEROS, JR, EL CLAVO


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 SALES, LP W, SUNRISE NATIONAL BANK and are hereby resolved and there are no

 further issues to consider in this matter. The Clerk of the Court is ORDERED to close

 this case.



 SIGNED on ____________________, 2021, at Brownsville, Texas.



                                            _____________________________
                                            Fernando Rodriguez, Jr.
                                            United States District Judge




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AGREED AS TO FORM AND SUBSTANCE:


 FOR DEFENDANT/CLAIMANTS:                                FOR PLAINTIFF:

                                                         JENNIFER B. LOWERY
                                                         Acting United States Attorney
                                                         Southern District of Texas

 s/ Lori Gruver , with permission
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